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Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
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                           Filed09/21/21
                                 08/20/21 Entered
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                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page11ofof99




                                                                                     109
Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
                       68 Filed
                           Filed09/21/21
                                 08/20/21 Entered
                                           Entered09/21/21
                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page22ofof99




                                                                                     110
Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
                       68 Filed
                           Filed09/21/21
                                 08/20/21 Entered
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                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page33ofof99




                                                                                     111
Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
                       68 Filed
                           Filed09/21/21
                                 08/20/21 Entered
                                           Entered09/21/21
                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page44ofof99




                                                                                     112
Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
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                           Filed09/21/21
                                 08/20/21 Entered
                                           Entered09/21/21
                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page55ofof99




                                                                                     113
Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
                       68 Filed
                           Filed09/21/21
                                 08/20/21 Entered
                                           Entered09/21/21
                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page66ofof99




                                                                                     114
Case 20-04009-elm Doc 68 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 7 of 9
Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
                       68 Filed
                           Filed09/21/21
                                 08/20/21 Entered
                                           Entered09/21/21
                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page88ofof99




                                                                                     116
Case
 Case20-04009-elm
      20-04009-elmDoc
                   Doc51-6
                       68 Filed
                           Filed09/21/21
                                 08/20/21 Entered
                                           Entered09/21/21
                                                   08/20/2123:36:41
                                                            17:07:24 Page
                                                                      Page99ofof99




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